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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUÑIZ,
  MARCUS MARTIN, NATALIE ROMERO,
  CHELSEA ALVARADO, JOHN DOE, and
  THOMAS BAKER,

                                 Plaintiffs,              Civil Action No. 3:17-cv-00072-NKM

  v.                                                           JURY TRIAL DEMANDED
  JASON KESSLER, et al.,

                                 Defendants.


           PLAINTIFFS’ OPPOSTION TO DEFENDANT JEFF SCHOEP’S
       MOTION FOR RECONSIDERATION OF ORDER GRANTING PLAINTIFFS’
                     MOTION TO COMPEL DISCOVERY

         Plaintiffs respectfully file this opposition to Defendant Jeff Schoep’s Motion for

  Reconsideration of Order Granting Plaintiffs’ Motion to Compel Discovery, ECF No. 744 (“Mot.

  for Recons.” or “Mot.”).

         Time and again, Schoep has taken unjustified positions only to capitulate at the last minute,

  and the instant Motion for Reconsideration is no exception. Just minutes after filing the instant

  Motion, Schoep agreed to produce the very documents required by the Order he now challenges.

  See Ex. A (May 28, 2020 Email Chain from A. Dietz to K. Kim, J. Phillips, and others). By doing

  so, Schoep has implicitly admitted that the Court’s Order, ECF No. 741, is correct, and it is difficult

  to see what the point of the Motion for Reconsideration is other than to avoid having to pay

  Plaintiffs’ attorneys’ fees. However, it is precisely because Schoep has engaged in this pattern of

  meritless recalcitrance and repeatedly forced Plaintiffs to engage in unnecessary motions practice
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  that attorneys’ fees were warranted in the first place. Plaintiffs accordingly respectfully request

  that the Court deny Schoep’s Motion for Reconsideration.

         Schoep asks the Court to reconsider Plaintiffs’ motion to compel discovery, ECF No. 689.

  Because “[d]iscovery orders are inherently interlocutory,” Schoep’s Motion falls under Federal

  Rule of Civil Procedure 54(b). Retractable Techs., Inc. v. Int’l Healthcare Worker Safety Ctr.,

  No. 3:11-MC-28, 2011 WL 3555848, at *2 (W.D. Va. Aug. 11, 2011) (Moon, J.) (internal marks

  and citation omitted) (denying motion for reconsideration); see Fed. R. Civ. P. 54(b). “Relief

  under Rule 54(b) may be appropriate where the moving party shows the Court has patently

  misunderstood a party in reaching its decision, there has been a controlling or significant change

  in the law or facts since the Court issued its order, or the prior decision was clearly erroneous and

  would work manifest injustice if allowed to stand.” Atl. Coast Pipeline, LLC v. 10.61 Acres, More

  or Less, in Lovingston Dist., Nelson Cty., Virginia, No. 3:18-CV-00071, 2020 WL 2046376, at *2

  (W.D. Va. Apr. 28, 2020) (Hoppe, J.) (internal marks and citation omitted) (denying motion for

  reconsideration). “Such problems rarely arise and the motion to reconsider should be equally

  rare.” King v. Capital One Bank (USA), N.A., No. 3:11-CV-00068, 2012 WL 6052053, at *1

  (W.D. Va. Dec. 5, 2012) (Moon, J.) (marks and citation omitted) (denying motion for

  reconsideration). The Court should be “mindful that routine reconsideration of interlocutory

  orders would undermine judicial economy and respect for the finality of decisions.” Retractable

  Techs., 2011 WL 3555848, at *2 (internal marks omitted). “[R]econsideration is not meant to re-

  litigate issues already decided, provide a party the chance to craft new or improved legal positions,

  highlight previously-available facts, or otherwise award a proverbial ‘second bite at the apple’ to

  a dissatisfied litigant.” Atl. Coast Pipeline, 2020 WL 2046376, at *2 (alteration in original).

  “Motions to reconsider are not proper where the motion merely asks the court to rethink what the




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  Court has already thought through—rightly or wrongly.” Id. (marks and citation omitted). Schoep

  bears the burden of showing that reconsideration is justified. Retractable Techs., 2011 WL

  3555848, at *2.

         Contrary to Schoep’s assertion, the Court did not ground its decision on “assumptions” or

  “punish[]” Schoep for the actions of other Defendants. Mot. for Recons. at 5. Rather, in its Order,

  the Court provided a detailed analysis of its reasons for granting Plaintiffs’ motion to compel, ECF

  No. 689, and addressed the arguments in Schoep’s opposition. Among other findings, the Court

  determined that “Schoep still resists Plaintiffs’ discovery requests on grounds that the Court has

  already rejected or otherwise addressed” and described those orders and Schoep’s conduct. See

  Order at 3-5, ECF No. 741. The Court explicitly noted that Schoep had “twice refused Plaintiffs’

  proper discovery request on grounds that” his phone would not contain any potentially relevant

  information because it was obtained after the Unite the Right rally in August 2017. Id. at 5. The

  Court also considered that “Plaintiffs’ counsel asked Schoep to produce the new phone on

  December 11, 2019” and “[h]ad Schoep promptly complied, then he and his attorney would have

  had about three weeks” to meet the deadline in the operative scheduling order. Id. at 6.

         Schoep’s Motion for Reconsideration does not rebut or deny a single fact or finding in the

  Court’s Order. Rather, Schoep merely argues that “reconsideration is warranted here because the

  Court was seemingly unaware of Defendant Schoep’s compliance with Plaintiffs’ request.” Mot.

  for Recons. at 1. However, the Court was not unaware that Schoep intended—belatedly—to

  comply with Plaintiffs’ request. To the contrary, Plaintiffs informed the Court of that exact fact

  in their reply in support of their motion to compel. See ECF No. 695-1 (Apr. 6, 2020 Email from

  A. Dietz to M. Bloch, J. Phillips, cc: E. ReBrook). Moreover, the Court was aware that Schoep

  complied only after refusing Plaintiffs’ repeated requests, missing the court-ordered production




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  deadline, forcing Plaintiffs to file a motion to compel, and filing his own opposition to that motion.

  Nothing in Schoep’s motion for reconsideration comes close to an argument that the Court was

  clearly erroneous, patently misunderstood Schoep’s position, or that manifest injustice would

  result. See Portis v. Ruan Transp. Mgmt. Sys., Inc., No. 7:15-CV-00118, 2015 WL 5794540, at

  *2 (W.D. Va. Oct. 1, 2015) (denying motion for reconsideration because asking for the court’s

  “awareness and reality of circumstances involved…does not amount to an argument that the court

  was clearly erroneous” (internal marks omitted)).

         Schoep also appears to claim that the Court misunderstood that production of his phone

  was “not contingent upon the ability to review the results before release to the Plaintiffs’ counsel.”

  Mot. for Recons. at 1 (emphasis omitted). However, the Court did not misunderstand; Schoep has

  simply reversed his position once again. As the Court noted in its Order, Schoep opposed the

  motion to compel because, among other reasons, Plaintiffs’ “request to obtain ‘every document

  from his new phone that hits on a search term threatens to sweep in documents and information

  that are not remotely relevant to the issues in this case’” and “request[ing] direct access to those

  documents, without allowing Schoep or his attorney, to review them, ‘suggests that the Plaintiffs

  seek broad and unfettered access to the contents’ of his new phone.” Order at 2, ECF No. 741

  (quoting Schoep’s Opp. to Pls. Mot. to Compel at 13, ECF No. 694) (internal case quotation and

  citation omitted). In short, during the motion to compel briefing, Schoep objected because he

  wanted to review or have his attorney review documents prior to production to avoid “sweep[ing]

  in” irrelevant documents and to prevent “unfettered access,” and this Court should reject Schoep’s

  attempt to rewrite history.1



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    Notwithstanding that the Court’s original reading of Schoep’s position was correct, to the extent
  that Schoep nevertheless meant that production was not contingent on review, it was his obligation
  to say so in an intelligible fashion. His failure to do so does not constitute a “patent

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         Schoep has failed to show that the Court misunderstood his position, that manifest injustice

  would result, that the Order granting Plaintiffs’ motion to compel was clearly erroneous, or any

  other reason to justify reconsideration. Rather, at bottom Schoep’s request is merely that the Court

  “rethink what it has already thought through,” which is not a proper basis for reconsideration. See

  Atl. Coast Pipeline, 2020 WL 2046376, at *2 (marks and citation omitted). Plaintiffs therefore

  respectfully request that the Court deny the Motion for Reconsideration, ECF No. 744.




   Dated: June 11, 2020                                Respectfully submitted,

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  misunderstanding” by the Court. Moreover, a motion for reconsideration is not “an occasion to
  present a better and more compelling argument that the party could have presented in the original
  briefs” or to get a second bite at the apple. Atl. Coast Pipeline, 2020 WL 2046375, at *2 (internal
  marks and citation omitted).


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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 11, 2020, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

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